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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


  ------------------------------------X
  BABY DOE, A CITIZEN OF AFGHANISTAN     :
  CURRENTLY RESIDING IN NORTH            :                 CIVIL ACTION NO. 3:22-CV-49
  CAROLINA, BY AND THROUGH NEXT          :
  FRIENDS, JOHN AND JANE DOE;AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,       :
                                         :
       Plaintiffs,                       :
                                         :
  v.                                     :
                                         :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                                :
                                         :
       Defendants,                    :
                                       :
  and                                  :
                                       :
  UNITED STATES SECRETARY OF STATE    :
  ANTONY BLINKEN AND UNITED STATES :
  SECRETARY OF DEFENSE GENERAL         :
  LLOYD AUSTIN,                       :
                                      :
       Nominal Defendants.            :

  ------------------------------------X

                                      [PROPOSED] ORDER

         Having considered Plaintiff's Motion, and Memorandum of Law in Support of Motion, to

  Seal Exhibit B to the Memorandum of Law in Support of Plaintiffs’ Motion to Seal, and for good

  cause shown, and the requirements of Local Civil Rule 9(b), and the decisions in Ashcraft v.

  Conoco, Inc., 218 F.3d 288 (4th Cir. 2000), In re Knight Publishing Co., 743 F.2d 231 (4th Cir.

  1984), and Stone v. Univ. of Maryland, 855 F.2d 178 (4th Cir. 1988) having been met, it is
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  hereby ORDERED that Plaintiff's Motion is granted. It is further ORDERED that Exhibit B to

  the Memorandum of Law in Support of Plaintiffs’ Motion to Seal thereto is filed under seal.

         It is so ORDERED.


  Charlottesville, Virginia
  Dated: _______________
                                                     ___________________________
                                                     Norman K. Moon
                                                     United States District Judge




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